Case 4:22-cv-00231-ALM-CAN Document 1 Filed 03/23/22 Page 1 of 3 PageID #: 1



                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

JEFFRY SIMPSON,

            Plaintiff,

v.                                                             Civil Action No: 4:22-cv-231

 HELBING LAW GROUP,                                            State Court Case No.: 03-Sc-22-00042

            Defendant,


                             DEFENDANT HELBING LAW GROUP’S
                                  NOTICE OF REMOVAL

       Defendant Helbing Law Group. (“Defendant”) files this Notice of Removal of this action

from the Justice of the Peace Court, Precinct 3, Collin County, Texas to the United States District

Court for the Eastern District of Texas, Sherman Division as follows:

       1.          Plaintiff Jeffry Simpson (“Plaintiff”) filed his Complaint on January 24, 2022, in

the Justice Court, Precinct 3, Collin County, Texas.

       2.          This is a civil action based on Plaintiff’s contentions that Defendant has violated

the Telephone Consumer Protection Act (TCPA), 47 U.S. Code § 227, et seq. (“TCPA”).

       3.          Removal is proper because this case involves a federal question – alleged violations

of the TCPA. Therefore, the suit is removable under 28 U.S.C. § 1441(a).

       4.          Removal is timely pursuant to 28 U.S.C. § 1446(b) because Defendant has filed

this Notice of Removal within 30 days of receipt of Plaintiff’s Complaint. Plaintiff served a copy

of the Complaint upon Defendant on March 7, 2022.

       5.          Venue is proper in this district under 28 U.S.C. § 1441(a) because the state court

where the suit has been pending is located in this district.


                                                    1
 Case 4:22-cv-00231-ALM-CAN Document 1 Filed 03/23/22 Page 2 of 3 PageID #: 2



        6.    Pursuant to 28 U.S.C. § 1446(a) and LR 81, copies of all process, pleadings, orders

 and other papers filed in this action and obtained by Defendant, index of matters being filed and a

 list of all counsel of record, including addresses, telephone numbers and parties represented, are

 attached hereto and incorporated herein by reference.

        7.    Notice of this removal will be promptly filed with the Justice Court, Precinct 3, Collin

 County, Texas and be served on all adverse parties.

        8.    Plaintiff did not request a jury trial in state court.

       For the above reasons, Defendant Helbing Law Group requests that this Court assume full

jurisdiction over the proceeding as provided by law.




Dated: March 23, 2022                                        Respectfully submitted,

                                                             JAFFER & ASSOCIATES, PLLC

                                                             By: /s/ Robert Leach
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                                                   2
 Case 4:22-cv-00231-ALM-CAN Document 1 Filed 03/23/22 Page 3 of 3 PageID #: 3



                              CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on March 23, 2022, a true copy of this Motion has been fled on
CM/ECF and will be served on all parties in a manner approved by the Texas Rules of Civil
Procedure.



                                                             /s/ Robert Leach
                                                             Robert Leach




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